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                                   IT D T/\T   DI TRI T
                                 EA TER DI T RI T OF M l
                                       EASTE R Drv, IO

  UNITED TATE           OF AMERICA.                  )
                                                     )
       Plaintiff,                                    )
                                                     )           Sl -4:20-cr-00831 SEP
  V.                                                 )      0.         1~ '-   l


                                                     )
       RLO    TR V I                                 )
                                                     )
       Defendant.                                    )

                                       G TLTY PLE          GREEME T


          Come now the partie and hereby agree. a folio s :

 1. PARTIE :

          The parties are the defendant Carlos Travis, represented by defen e coun el Kenneth R .

  chwartz. and the United States of America (hereinafter ·' nited                  tales·· or '·Government").

 repre ented by the Office of the United     tales Attorney for the Ea tern District of Mi        ouri. This

 agre ment doe not, and i not intended to. bind any go ernmental office or agenc other than the

 United    tate Attorn y for the Ea tern Di trict of Mi     ouri . The     ourt i n ither a party to nor

 bound by this agreement.

 2. GUTL TY PLEA:

          Pur uant to Rule 11 (c)( I )(8). Federal Rules of Criminal Procedure, in exchange for the

 defendant ' s voluntary plea of guilt to Count I and 2 in the uper eding information , the United

  tare agrees that no further federal pro ecution will be brought in this Di trict relative to the

 defendant ' vio lations of federal law, known to the U nited      tares at thi time, ari s ing o ut of the

 events    et fo rth in the   uper eding information . Furthermore, the parties agree that the
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  entencing Guideline Total Offen e Level analysi agreed to b the partie herein i the result of

 negotiation and led, in part, to the guilty plea.

 3. ELEME T :

         As to Count I. the defendant admits to knowing! violating Title 18, United tates Code,

 Section 11 I (a)( I), and admits there is a factual basis for the plea and fu rther fully understand that

 the elements of the crime are:

         I.      On or about December 17. 2020. the defendant forcibly a sau lted Matt Sutton and

                 R an Williams, pecial       gents with the Federal Bureau of lnve tigations, with a

                deadly weapon ;

        2.       The as ault wa done voluntaril and intentionally; and

         3.      At the time of the a sault, pecial       gent   utton and Williams were doing what

                 they were employed b the federal government to do.

         A to Count 2, the d fendant admits to knowing! violating Title 18. United tates Code,

  ection 922(g), and admit there i a factual ba i for the plea and futther full         understand that

 the elements of the crime are:

         I.      On or about December 17, 2020, the defendant had been previou ly convicted of a

                 crime punishabl b impri onment for a term exc eding ne year:

         2.      On or about December 17. 2020. in t. Loui County. within the Eastern Di trict of

                 Mis ouri, the Defendant knowingly po se sed a firearm:

         3.      The firearm wa tran ported across a state line at ome point during or before the

                 Defendant' s p    e ion of it: and




                                                      2
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       4.      At the time Defendant po e sed the firearm. D fenda nt knew he had been

               convicted of a felony; that i . a crime punishable by imprisonment fo r a term

               exceeding one year.

4. FACT :

       The parties agree that the fact in this ca e are a follows and that the government wo uld

prove the e facts beyond a rea onable doubt if the ca e were to go to trial. These facts ma be

con idered a relevant conduct pursuant to ection I BI ..,:

       Investigators with the Federal Bureau of In e ligation began an inve tigati n into Carlo

Travi ' narcotics trafficking in June of 2019. During the inve tigation into Carlo          Travi

inve tigator conducted controlled purcha es of narcotic        from   arlo Tra i .     ubsequentl

in vestigator received a federal search warrant, which authori zed inve tigators to search Carlos

Travi · residence . That residence is located at 3 Trini ty Lane, Floris ant, Missouri 63031 ( ithin

the Ea tern District of Missouri).

       In the early morning hours of December 17, 2020, members of the FBI'         pecial Weapon

                  T)   ni t, incl ud ing pecial Agent Matt utton and Ryan William , executed the

 earch warrant at Travis' re idence (with in the Ea tern District of Mi sou ri ). In attempting to

execute the search warrant, the member of the W T         nit were doing   hat they were emplo ed

to b the federal government to do. Before xecuting the earch warrant.          W T officers. who

we re the only individuals out ide of Tra i · re iden e. announced their pre ence pri r to entering

Tra is' resi dence. After anno uncing their pre ence.   WAT officer \ itne ed multiple shots that

  ere fired from in ide Trav i · residence. which exited the re idence in their direction. Carl os

Tra i voluntarily and intentionally fired those gun hot in the direction of the indiv idual who


                                                 3
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 we re ou t id hi re idenc with a Ruger       R- - a ault rifle ( erial number 857-65094). Tho e

 g un hots put the members of the      W T      nit in fear of imminent bodily harm. After          WAT

 officer wi tnessed the gun hot and took co er they called out for Tra is to exit the re idence

 w ith his hand up. Travis and his wife sub equently exited the re idence and surrendered to the

  WAT officers.

        That ame morning, inve tigator sub equently conducted a search of Travi · residence.

 During that earch. inve. tigator located and eized a e idence a Ruger             R-556 (AR-15) assault

 rifle (ser ia l nu mber 857-65094) complet with a loaded magazine under the mattre          in the ma ter

 bedroom . Investigators al o located and seized as evidence a live 5.56 round at the top of the tair

 ins ide the re idence. In addition, in estigators located and seized as e idence spent 5.56 shell

 ca ings inside the resid nee. Th seized Ruger            R-556 (AR-15) as ault rifle (serial number 857-

 65094) is a firearm under federal law, and that the firearm was not manufactured in the           tate of

 Mi ou n .

        Furthermore, at the time of       arlo Tra i · kno ing po es ion of the aforementioned

 a sault rifle, Carlo Tra i wa a convicted felon (i .e .. he wa           previou ly convicted of crimes

 puni shab le by impri onment for term exceeding one year) . Indeed. Travis had received multiple

 prior fe lony conviction in the    tat of Mi    ouri. In addition, during a po t-Miranda interviev

 wi th Trav is. he admitted that-at the time of hi knowing posse         ion of the aforementioned a sault

 rifl e-he knew that he was a convicted felon (i.e .. that he had been previou ly convicted of crimes

 pun i hab le by impri onm nt for term exceeding one year) . In that ame post-Miranda interview.

 T ravis admitted that, prior t   his firearm pos e       ion on the morning of December 17. 2020. he

 regu larly lept with the aforementioned assault rifle.


                                                      4                                     (
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          A.      Coun t l: The Defendant fully under tands that the maximum pos ible penalties

 prov ided by law for the crime to which the defendant is pleading guilty under Count I is

 impri sonment of not more than 20 year , a fine of not more than              250,000. or b th such

 impri sonment and fine. The Court hall also impose a period of super ised release of not mo re

 than three years.

          B.      Coun t 2: The Defendant fully understands that the maximum possible penalty

 provided by law for Count 2 is imprisonment of not more than ten year , a fine of not more than

 $250,000, or both such impri onment and fine. The Court also may impose a period of supervi ed

 release of not mo re than three years.

                                           ES : 2018 MANUAL:

          The defendant understands that this offense is affected by the U.S. entencing Guidelines

 and the actual sentencing range is determined by both the Total Offense Level and the Criminal

 Hi story ategory. The part ie agree that the following are the U. . entencing Guideline Total

 Offe nse Leve l provi ion that apply.

 A.       Count 1:

          a. Chapter 2 Offense Conduct:

          (1) Base Offense Level: The parties agree that the base offense level for Count I is found

 111   ection 2A2.2, and that the Base Offense Le el under that pro ision i 14.

          (2)   Specific Offense Characteristic:        The parties agree that the fol lowing   pecitic

 Offense Characteristics app ly for       ount I: that a firearm wa di charged, which re ults in an




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increa e of 5 level under ection 2A2.2(b )(2). and that the defendant is being convicl d under 18

U. .C. § 11 l(b), which res ulls in an increa e of2 levels under ection 2 2.2(b)(7).

B.      Count 2:

        a. Chapter 2 Offense Conduct:
                                                                                                  '1.,
        (l) Base Offen e Level: The partie agree that Lhe base offen e le el for Count        /':s found
in Section 21<2. l and depends on the nature of the firearm, the defendant· s criminal history, and

other fa ctors li sted therein.

        (2)     pecific Offense Characteri tic:          Th   parties agree that the Col lowing   pecific

Offen e Characteri tic       apply for Count ~ hat four le els should be added under              ection

2K2. I (b)(6)(B).                                 'l.,

        b. Chapter 3 Adjustments:

                 {1) Official Victim: The parties agree that ection 3A 1.2( c )( 1) applies. which

results in an increa e in 6 levels because the defendant. in a manner creating a substantial ri k of

 eri ous bodil y injur , and having rea onable cau e to belie e that a per on wa a la      enforcement

officer, com mitted the crime charged in Count ~1,

                 (2) Acceptan ce of Respon sibility: The parties agree that three level should be

dedu cted pursuant to      ection 3E 1.1 (a) and (b), becau e the defendant ha clearly demon trated

acceptance of re pon ibility. The partie agree that the defendant' eligibility for thi dedu tion is

ba ed upon information presently known.         If subsequent to the taking of the guilty plea the

governm ent receives new evidence of statement or conduct b the defendant which it believe are

inconsistent with defendant's eligibility for thi        deduction. the government ma       pre ent aid




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 evidence to the court. and argue that the defendant hould not receive al I or part of the deduction

 pur uant to   ection 3E 1.1, without iolating the plea agreement.

                 {3)   Determining Offense Level on Multiple Counts: The partie agree that

 determinin g the offense le el on Counts I and 2. under Sections 3D 1. 1, JD 1.2 . 3D 1.3, and JD 1.4.

 depends on the defendant's Ba e Offen e Level for Count 2. a determined und r ection 2K2. I.

          C.     Estimated Total Offen 'e Level: The parties e ti mate that the Total Offen e Level

 1 a found in      cction 2 K2.1 and 2A2.2, a adju . tecl abo c, unle       the defendant is an        rmcd

 Career    riminal or a Career Offender. Depending n the underlying offense and the defendant·

 criminal history, the defendant could be an       rmed    areer Criminal under Title 18.     nited    tate

 Code,    ection 924(e) and   ection 4B 1.4 or a    areer Offender under      ection 4B 1. 1. If the   ourt

 finds that the defendant is an Armed Career Criminal or a Career Offender. the Total Offen e Level

 may be higher and the Criminal Hi tory Category may be as high as Category VI. Defendant has

 di cus ed these pos ibilitie with defense coun el. Both pa1tie reserve the right to argue that the

 defendant i or is not an Armed      areer Criminal or a    areer Offender.

          D. Criminal History: The determination of the defendant' Criminal Hi l ry Category

  hall be left to the C urt. Either party may challenge. bef re and at sentencing. the finding of the

 Pre ent nee Report a      to the defendant'   criminal hi tory and th        applicable category. The

 defendant' criminal history is known to the defendant and is ubstantially available in the Pretrial

 Service Report.

          E. Effect of Parties' U.      entencing Guidelines Analysis: The partie agree that the

  oun is not bound by the Guideline analy is agreed to herein. The parties may not have foreseen

 a ll app licable Guideline . The Court may. in it di cretion, appl        or not apply any Guideline


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de pite the agreement herein and the parlie shal l not be permitted Lo \: ithdraw from the plea

agreement.

        7. W

        a. Appeal: The defendant has been fully appri ed b defen e counsel of the defendant'

rights concerning appeal and fully understand th right to appeal the sentence under Title 18.

United State Code, ection 3 742.



juri dictional, non-sentencing i ue , including, but not limited to, any i ucs relating to pretrial

motion , di scovery and the gu ilty plea. the constitutionality of the tatute( ) t which defendant is

pleading guilty and, hether de fondant's conduct fa ll s within the cope of the statute( ). Defendant

further waives his right to appeal his con icti on on the basi that the information did not adequately

allege the elements, including any 1:equisite men rea a to the Defendant's prohibited status, of

the offen e( ) for which the defendant i pleading guilt .

               (2)    entencing Issues:      In the event the Court accept       the plea and, after

determining a entencing Guide Iine range,        ntence the defendant within or belov that range,

then, as part of thi agreement, the defendanl hereby · aives al I rights to appeal all sentencing

 i sues other than Criminal Hi tory. imilarly, Lhe United tate hereby wai es all rights to appeal

all sentencing i ue other than Criminal Hi tory. provided the Court accepts the plea and

 entences the defendant    ithin or above the d Lennin d entencing Guidelines range .

               b.    Habea Corpus:      The defendant agree to waive all right to contest the

conviction or -entence in any post-con iction proceeding. including one pursuant to Tille 28.




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United    tates Code.   ection 2255, except for laim or pro ecutorial mi conduct or ineffecti e

a istance of coun el.

               c. Right to Records: The defendant waive all rights. whether asserted directly or

by a repre entati ve, to request from an department or agenc of the United State any record

pertaining to the inve tigation or prosecution of th i ca e, including any records that may be sought

under the Freedom of In formation Act, Titl 5, Uni ted tale Code. ection 522, or the Privacy

Act. Title   United tatc Code, ection 552(:i).

         8. OTHER:

               a. Disclosures Required bv the

agrees to truthfull y complete and sign forms a required by the United       tate Probation Office

prior to entencing and consents to the release of these forms and any upporting docum ntation

by th United State Probation Office to the government.

               b. Civil or Administrative Actions not Barred; Effect on Other Governmental
                 gencies:

          othing contained herein limi ts the right and authority of the    nited    tale to take any

civil. tax. immigration/deportation or administrative action against the defendant.

               c.   upervised Release: Pursuant to any upervised re lea e term. the Court will

impose standard conditions upon the defendant and ma. impo e special condition related to the

crime defendant committed. The e condition will be re triction on the defendant to which the

defendant will be required to adhere. Violation of the cond ition of uper ised release re ulting

in revocation may requi re the defendant to er ea term of imprisonment equal to the length of the

term of supervi ed release, but not greater than the term et forth in Title 1 ,     nited tale   ' ode.



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   ection 3583(e)(3). without cred it for th time er ed after relea e. Th defendant und r land

  that paro le ha been abolished.




   ectio n 3013, the     oun is required to impo e a mandatory pecial as es ment of I 00 per count

  fo r a total of $200, which the defendant agrees to pay at the time of entencing. Money paid by

  the defendant toward an       restitution or fine imposed b the Court shall be first u ed to pay any

  unpaid ma ndatory pecial as essment.

                 e. Possibili tv of Detention: The defendant may be ubject to immediale d tcntion

  pursuant to the pro isions of Title 18     nited   tate Code. ection 3143.

                 f. Fin es, Resti tution an d Co ts of In carceration and upervision: The Court

  may impose a fine, costs of incarceration and costs of supervi ion. The Defendant agrees that any

  fi ne im po ed b the      ourt will be due and pa able immediate! .

                 g. Fo rfeiture: The Defendant agree the tipulated fact abo e arc ufficient to

   upport forfeiture of certain a et pur uant to the applicable forfeiture authorities. Defendant

   pecifically agrees to the fo rfeiture f the following:

                       a.   A Ruger AR-556 (AR- 15) assault rifle ( erial number 857-65094 ), loaded
                            with a magazine. seized nor about December 17. 2020.

          T he Defendant agrees the Court may enter a consent pre! iminary order of fo rfeitu re any

  tim e before sentencing. and ·uch Order will become final a to the Defendant when it i issued and

  w ill be part of the entence. The Defendant agree not to object to any admini trative. civil or

  crimina l fo rfeiture brought against any assets subject to II rfeiture. The Defendant will execute any

  document a nd take al I steps needed to transfer title or owner hip of aid as ets to the Government

  a nd/o r to rebut the claims of nominee        and/or alleged third part    ow ner . The Defendant

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 knowing ly and intelligently \ aives all con titutional and statutol") challenge to an         forfeiture

 carried out in acco rdance with this plea agreement, including but not limited to that Defendant was

 not given adequate notice of forfeiture in the charging in trument. The Defendant knowingly and

 vo luntaril   waives any right, title, and intere t in all items seized by law enforcement officials

 during the course of their investigation, whether or n r they are subject to forfeitur , and agree

 nor to contes t the ve ting or title of uch item in the      nited   tares. The Defendant agrees that

 said items may be di posed of by law enforcement officials in an manner.

         9.

         In pleading guilty, the defendant acknowledge . fully understands and hereb_ wai e hi

 rights. including but not limited to: the right to plead not guilty to the charges: the right to be tried

 by a j ury in a public and peedy trial: the riglu to file pretrial motions. including motions to

 suppress or exclude evidence; the right at such trial to a presumption of innocence: the right to

 requ ire the gov rnm nt to prove the el ment of the offen es charged against the defendant beyond

 a rea onable doubt: the right not to te tify ; the right not to pre ent any e idence: the right to be

 protected from compelled elf-in rimination: the right at trial to confront and cros -examine

 adverse witnes es; the right to testiry and present evidence and the right to compel the attendance

 of witne ses. The defendant further under tand that b thi guilty plea. the defendant ex pre ly

 waive all the rights et forth in thi paragrarh .

         The defendant fully understands that the defendant ha the right to be repre ented by

 coun se l. and if neces ary, to have the Cou1t appoint counsel at trial and at every other stage of the

 proceeding. The defendant' counsel ha e plained the e right and the con equences of the waiver

 of these rights. The defendant fully under Lands that. a a result of the guilt plea. n trial will. in


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 fact. occur and that the only action remaining to be taken in thi case       I   the impo ition of the

  entence.

        The defendant i fully atisfied, ith th repre entation recei ed fr m defense coun el. The

 defendant has reviewed the go ernment's evid nee and di cussed the go ernment' ca e and all

 poss ibl e defenses and defen e witnes e with defen e coun el. Defense coun el has complete!

 and ati sfactori l explored all areas wh ich the defendant ha reque ted relative to the government'

 case and any defense .

        The guilt plea could impact defendant' immigration status or re ult in deportation. In

 particul ar. if any crime to which defendant is pleading guilty i an "aggravated felony'· a defined

 by Title 8.    nited     tate     ode,   ection I IO I (a)( 43). r m val or deportation i pre umed

 mandatory. Defense coun el has advised the defendant of the pas ible immigration con ·equences,

 including deportation. re ulting from the plea.

        10. VOL                    A TUR E OF THE GU I LT Y PLEA

 AGREEME T:

        Thi document con titute the entire agreement between the defendant and the government,

 and no other pro mi es or inducements have been mad • direct! or indirectly. by any agent of the

 government. inc lud ing an      Department of Justice allorney. concerning any plea to be entered in

 this case. In addition, the d fondant ~tates that no perr.on ha . directly or indirectly. threatened or

 coerced the defendant to do or refrain from doing anything in conn ction with any a p ct of thi

 case. including entering a plea of guilty.




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         The defendant acknO\: ledge ha ing vo lumaril entered into both the plea agreement and

 th guilty pl a. The d fendant further acknowledges that this guilty plea i made of the defendant'.

 own free will and that the d fenda nt is, in fact. gui lty.

                                                                        CT:

         After plead ing gui lty and befor     entencing, if defendant commits an crime. other than

 minor traffic offenses, violates any condition of release that result in revocation, violates any

 term of thi guilty-plea agreement. inrentionall          rro ide mi leading. incomplete or untruthful

 information to the U.. Probati on Office or fail to appear for entenci ng. the      nited tate , at it

 option. may be released from it obligation under thi agreement. The Government may al o. in

 its discretion. proceed with thi agreement and may advocate for an sentencing position supported

 by the facts, including but not limited to obstruction of justice and denial of acceptance of

 responsibility.

         12.    0 RIGHT TO WITHDRAW GUILTY PLEA:

         Pur uant to Rule 11 ( ) and (d). Federal Rule of             riminal Pro edure. the defendant

 understands that there will be n right to withdraw the plea entered under this agreem nt, except

 where the Court rejects those portions of the plea agreement which deal with charges the

 government agree to dismi

     5/19/21
                                  or n t to bring.
                                                            ~p::rhf:-
        Date                                                Derek J. Wi eman
                                                             s i tant nited State   ttorne}




         Date                                                arias Tra 1s
                                                            Defendant


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